
¶ 1 Department II of the Court, composed of Chief Justice Fairhurst and Justices Madsen, Stephens, González and Yu, considered at its March 5, 2019, Motion Calendar whether review should be granted pursuant to RAP 13.4(b) and unanimously agreed that the following order be entered.
¶ 2 IT IS ORDERED:
¶ 3 The motion to consolidate this matter with Supreme Court case number 96599-4 - State of Washington v. Robert L. Davis, et al. is denied. Consideration of this matter is stayed pending a final decision in Supreme Court No. 96599-4 - State of Washington v. Robert L. Davis, et al.
For the Court
/s/ Fairhurst, CJ. CHIEF JUSTICE
